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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

    TMT SYSTEMS, INC., and
    TIMUR P. SARAC

                                  Plaintiffs,             Civil Action No. 6:20-cv-973-ADA

           v.
                                                          JURY TRIAL DEMANDED
    MEDTRONIC, INC.,

                                  Defendant.



             JOINT MOTION TO STAY PENDING INTER PARTES REVIEW

       On October 16, 2020, TMT Systems, Inc. (“TMT”) filed a Complaint in this action,

asserting infringement of U.S. Patent No. 7,101,393 (“’393 patent”). Dkt. 1. Two amended

complaints were filed in 2021 (Dkts. 21 and 37), and on February 15, 2022, a Third Amended

Complaint was filed adding Dr. Timur P. Sarac (“Dr. Sarac”) as a Plaintiff (Dkt. 138). In each

amended complaint, TMT and Dr. Sarac (collectively, “Plaintiffs”) asserted the ’393 patent. Dkts.

21, 37, 138. On March 22, 2022, the U.S. Patent Trial and Appeal Board (“PTAB”) issued a

decision instituting inter partes review as to the ’393 patent. See IPR2021-01532, Paper 20. The

presumptive date by which the PTAB is expected to issue its final written decision in the above-

referenced IPR proceeding is no later than one year from the above institution date (i.e., March 22,

2023). See 35 U.S.C. § 316(a)(11).

       Plaintiffs and Defendant Medtronic, Inc. have concluded that it will be mutually

advantageous to the parties and to the Court to stay the District Court proceedings until the PTAB

issues its final written decision in the above-referenced IPR proceeding. The outcome of the
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above-referenced IPR proceeding may be case dispositive, and in the event it is not dispositive, it

has the potential to streamline the issues in this case, such that staying deadlines and adjourning

discovery will maximize the parties’ efficient use of resources, and thereby serve the interests of

justice.

           The parties thus submit this Joint Motion to Stay Pending Inter Partes Review and a

Proposed Order granting the Motion. The parties jointly request that the Court stay the District

Court proceedings in its entirety until the PTAB issues its final written decisions in IPR No.

IPR2021-01532. 1 The parties will notify the Court no later than ten (10) business days of any final

written decision issued by the PTAB in the above referenced proceeding.




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  Plaintiffs have deadlines to respond to additional document requests and interrogatories by
April 27, 2022 and May 5, 2022, and Defendant has a deadline to file its reply brief in support of
its motions to dismiss (Dkt. 142) on April 18, 2022. The parties have agreed while the Court is
considering this Joint Motion, all further case deadlines are tolled.
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Dated: April 11, 2022                         Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on April 11, 2022.



                                           /s/ J. Stephen Ravel
                                           J. Stephen Ravel




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